Case 5:21-cr-00009-LGW-BWC Document663_ Filed 07/18/23. Pagelof1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

WAYCROSS DIVISION

CHANGE OF PLEA IN USA v. Luis Alberto Martinez

CRIMINAL NO. CR521-9 AT Waycross, GA

,

JE oI I OR doioke oi 3 i aie ae ie ea ao a ao aie ea ite a a sei ake a a a

WITH CONSENT OF THE COURT, THE

DEFENDANT Luis Alberto Martinez , HAVING

PREVIOUSLY ENTERED A PLEA OF Not Guilty

3

HEREBY WITHDRAWS THAT PLEA AND ENTERS A PLEA

OF Guilty TO Count fifty-three (53)

IN THE INDICTMENT.

THIS _18th DAY OF July

, 2023.
NOLLE PROSSE AS (YK MALE

© Alberto Martinez. /DEFENDANT
TO COUNT(S)

\ COUNSEL FOR DEFENDANT

Jason Moon
